        Case 1:06-cr-00150-AWI Document 24 Filed 02/23/07 Page 1 of 3



Page 1
Stipulation to Continue
Case No. 06-0150 AWI
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Attorney for Defendants,
SURRINDER SINGH NIJJAR and
AMRITPAL P. SINGH



                      IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA, FRESNO
                                   * * * * *


                                       )
UNITED STATES OF AMERICA,              ) Case No.: CR-F-06-0150 AWI
                                       )
             Plaintiff,                ) STIPULATION FOR CONTINUANCE AND
                                       )
      vs.                              ) ORDER THEREIN
                                       )
                                       )
SURRINDER SINGH NIJJAR and             )
AMRITPAL P. SINGH,                     )
             Defendants.               )


      IT IS HEREBY STIPULATED between the Defendants, SURRINDER SINGH
NIJJAR and AMRITPAL P. SINGH, by and through their attorney of record,
Anthony P. Capozzi, and Defendant, SUKHWINDER SINGH, by and through his
attorney, Timothy Magill, and Plaintiff, by and through Assistant
United States Attorney, Mark Cullers, that the Sentencing Hearing now
set for Tuesday, February 20, 2007, at 1:30 p.m. be continued to
Monday, April 2, 2007 at 1:30 p.m. It is further stipulated by the
parties that any delay resulting from this continuance shall be
excluded on the following basis:
       Case 1:06-cr-00150-AWI Document 24 Filed 02/23/07 Page 2 of 3
  1. Title 18, United States Code, Section 3161(h)(8)(A) -- that the

    ends of justice served by taking such action outweighs the best

    interest of the public and the defendant in a speedy trial;

  2. Title 18, United States Code, Section 3161(h)(8)(ii) -- that it

    is unreasonable to expect adequate preparation for pre-trial

    proceedings or for the trial itself with the time limits

    established due to the complexity of the case.

                                  Respectfully submitted,
Dated:   February 15, 2007


                                       /s/ Anthony P. Capozzi
                                  Anthony P. Capozzi,
                                  Attorney for Defendants,
                                  SURRINDER SINGH NIJJAR and
                             AMRITPAL P. SINGH


Dated:   February 15, 2007

                                       /s/ Timothy Magill
                                  Timothy Magill,
                                  Attorney for Defendant,
                                  SUKHWINDER SINGH



Dated:   February 15, 2007

                                       /s/ Marlon Cobar
                                  Marlon Cobar,
                                  Assistant U.S. Attorney
         Case 1:06-cr-00150-AWI Document 24 Filed 02/23/07 Page 3 of 3
                                     ORDER



     IT IS SO ORDERED.       Good cause having been shown, the Sentencing

Hearing now set for February 20, 2007, is vacated and is now scheduled

for Monday, April 2, 2007 at 1:30 p.m.           Additionally, time shall be

excluded by stipulation from the parties and pursuant to 18 USC §§

3161(h)(A) and 3161(h)(B)(ii).

IT IS SO ORDERED.

Dated:   February 20, 2007               /s/ Anthony W. Ishii
0m8i78                             UNITED STATES DISTRICT JUDGE
